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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 10-62493-CIV-DIMITROULEAS

 BARBARA LENTINI,

        Plaintiff,

 vs.

 ENHANCED RECOVERY COMPANY, LLC,

       Defendant.
 _____________________________________/

                     PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL
                                   WITH PREJUDICE

        Having amicably resolved all matters in controversy and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(i), Plaintiff voluntary dismisses this action with prejudice.



 Dated: February 8, 2011                       Respectfully submitted,


                                               /s Andrew I. Glenn
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